Case 2:17-cv-01210-SDW-LDW Document 9-2 Filed 05/26/17 Page 1 of 5 PagelD: 121

EXHIBIT A
Case 2:17-cv-01210-SDW-LDW Document 9-2 Filed 05/26/17 Page 2 of 5 Pagebhs ld? Se 1

(Gas Stare of New Jersey
(ig j ‘

2) Department of the Treasury

ve Division of Taxation —-—

OWNER INFORMATION

Owner Name:

Owner Address:

PROPERTY
INFORMATION

Property Location
County

District

Block Number

Lot Number
Qualifier

Property Class

Land Description
Building Description
Acreage

Land Value
Building Value
Net Value

Prior Year's Taxes
Prior Year's Net Value

RECORD DETAILS
AS OF JANUARY 10, 2016:

CARTAGENA, JOSEPH & RIOS,
LORENA

9 KENSINGTON CT

TENAFLY, NJ 07670

9 KENSINGTON CT
02 - Bergen

61 - Tenafly Boro
2006

6.105

2 - Residential
2S-AL-O-2AG-1U
515,000

497,200

1,012,200

$24,475.00
1,012,200

https://wwwnetl .state.nj.us/treasury/taxation/tytr_tlsps_web/TaxListSearchDetails.aspx

5/21/2017
 

5/26/2017 Case 2:17-cv-01210-SDW-LDW Document 9°8rvPitei] 05/26/17 Page 3 of 5 PagelD: 123

DATE COUNTY DISTRICT
14/06 BERGEN 0261 TENAFLY
DEED REGISTRATION RTE
PAGE DEED DATE ATE RECORDED] . R.T. FEE PRICE EXEMPT
104 04/18/06 05/05/06 14112.5 1375000 Z
G
R

CARTAGENA, JOSEPH & RIOS, LORENA
9 KENSINGTON CT

GIGANTE, TERESA
23 17TH ST

A
N
NORWOOD, NJ 07648 T TENAFLY, NJ 07670
E
E

TAX MAP & LIST DESCRIPTIONS PROPERTY CLASSIFICATION
BLOCK 2006 CLASS 2
LOT 6.105 L. 4 FYP
AL CONDO Y
ASSESSED VALUE
YEAR : Aah
SAME AS DEE LAND BUILDINGS FOTAL
2006 250000 635000 885000
PROPERTY LOCATION FLOOR AREA YEAR BUILT
9 KENSINGTON CT 3403 2001
REMARKS: RATIO:
64.36
ADDITIONAL BLOCKS/LOTS
BLOCK LOT LAND BUILDINGS TOTAL
0 0 0

0 0 0
0 0 0
0 0 0
0 0 0

NONUSABLE CODE SERIAL NO.
8536149

http://tax1.co.monmouth.nj.us/cgi-bin/sr.cgi?&district=0261&ms_user=&srnum=8536149&block=2006&lot=6. 1058qual=

 

1
TAXING DISTRICT NO. 61 TENAFLY REAL PROPERTY TAX LIST 2016 COUNTY NO.02 BERGEN PAGE NO. 286

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Block No. Land Dimensions Owner's Name DED AMT
Lot No. Building Description Address Billin Land ; ;

Qualification | Additional Lots Prop. | City State ; Zip Improvement | Exemptions Net Taxable | Deduct. | Special Tax 2015 TAX

Account No. | Acreage Class | Property Location Total Cd. Amount | Value Cd.Quan.| Codes 2016 1ST

2006 156X124 REMEZ, JESSE & BARBARA 580800 810700 AQ1 Ol +00
4 2S-F-0-DG-1U 2 |60 BLM ST 229900

TENAFLY, NJ 07670 810700 19602.73

000000 24441 60 ELM ST R9H 9801.37

2006 124X161 WALLACE, DAVID L & ROBIN J 474100 879500 AO1 01 00
5 2S-F-0-1U 2 |45 ENGLE ST 405400

TENAFLY, NJ 07670 879500 21266.31

000000 -4583 45 ENGLE ST R9 020 10633.16

2006 COHEN, NANCY 515000 940000 AOL 01 00
6.101)2S-AL-O0-2AG-1U 2 |1 KENSINGTON CT 425000

TENAFLY, NJ 07670 940000 22729.20

-0000 1 KENSINGTON CT R75 11364.60

2006 LITZKY, JOAN 515000 900000 AO1 01 .00
6.102) 2S-AL-0O-2AG-1U 2 |2165 GULF OF MEXICO, #123 385000

LONGBOAT KEY, FL 34228 900000 22559.94

-0000 3 KENSINGTON CT R75 11279.97

2006 MEHTA, SAMIR & KETIKA 515000 1002200 AQ1 O1 00
6.103}]2S-AL-0-2AG-1U 2 | 201 HEIGHTS LN 487200

TENAFLY, NJ 07670 1002200 24233.20

-0000 5 KENSINGTON CT R75 12116.60

2006 HUANG, MITCH & AYA KOBORI 515000 910000 AO1 Ol -00
6.104]2S-AL-0-2AG-1U 2 |299 WINDSOR ROAD 395000

ENGLEWOOD, Nd 07631 910000 21753.80

-0000 7 KENSINGTON CT R75 10876.90

2006 CARTAGENA, JOSEPH & RIOS, LORENA 515000 1012200 AO1 o1 -00
6.105) 2S-AL-0O-2AG-1U 2 |9 KENSINGTON CT 497200

TENAFLY, NJ 07670 1012200 24475.00

-0000 9 KENSINGTON CT R75 12237.50

2006 LIU, ZHI HONG & ZHOU, SHAOHUA 515000 882500 AO1 O1 -00
6.201} 2S-AL-O-2AG-1UC 2 |2 KENSINGTON COURT 367500

TENAFLY, NJ 07670 882500 21338.85

-0000 2 KENSINGTON CT R75 20 10669.43

2006 BIER, JILL § 515000 882500 AQ1 Ol 00
6.202|2S-AL~O-2AG-1U 2 | 4 KENSINGTON CT 367500

TENAFLY, NJ 07670 882500 21338.85

- 0000 4 KENSINGTON CT R75 20 10669.43

2006 WEIDHORN, PETER 515000 882500 AOL O01 00
6.203] 2S-AL-O-2AG~-1U 2 |6 KENSINGTON CT 367500

TENAFLY, Nd 07670 882500 21338.85

- 0000 6 KENSINGTON CT R75 20 10669.43

2006 ETTER, ANDREW & JENNIFER 515000 882500 AQl 01 »00
6.204] 2S-AL-0-2AG-1U 2 | 8 KENSINGTON CT : 367500

TENAFLY, NJ 07670 882500 21338.85

- 0000 8 KENSINGTON CT R75 20 10669.43

2006 GOLDSTEIN, LOIS 515000 3902500 AOL 01 00
6.205]2S-AL-0-2AG-1U 2 |10 KENSINGTON CT 387500

TENAFLY, NJ 07670 902500 21822.45

- 0000 10 KENSINGTON CT R75 20 10911.23

2006 MARTON, STUART & FREDERIC (TRSTES) 515000 940000 AOl1 O1 00
6.301] 2S-AL-O-2AG-1U 2 |111 DEMAREST AVENUE 425000

CLOSTER, NJ 07624 940000 22729.20

-0000 ll KENSINGTON CT R75 20 11364.60

2006 MOLINARI, JEFFREY (ETAL) 515000 991900 AO1 01 00
6.302] 2S-AL-O-2AG-1U 2 |15 KENSINGTON COURT 476900

TENAFLY, NJ 07670 991900 23984.14

.0000 15 KENSINGTON CT R75 20 11992.07

 

 

7234900 0 2006

 
 

\ 5/26/2017 Case 2:17-cv-01210-SDW-LDW Document 9°" AREY 05/26/17

New Search
Block: 2006 Prop Loc: 9 KENSINGTON CT Owner: HAHN, ANDREW
Lot: 6.105 District: 0261 TENAFLY Street: 9 KENSINGTON CT
Qual: Class: 2 City State: TENAFLY, NJ 07670
Additional Information
Prior Block: 2006 Acct Num: Addl Lots:
Prior Lot: 6 Mtg Acct: Land Desc:
Prior Qual: Bank Code: 0 Bldg Desc: 2S-AL-O-2AG-1U
Updated: 02/04/16 Tax Codes: Class4Cd: 0
Zone: R-75 Map Page: Acreage: 0
Sale Infermation
Sale Date: 01/22/16 Book: 2172 Page: 2097 Price: 900000 NU#: 13
sria Dake Book Page Frice NU # Rac
More Tnfe 06/29/04 8700 14 1030000 7 24.27 GIGANTE, TERESA
More Info 04/18/06 9072 104 1375000 64.36
More Info 01/22/16 2172 2097 900000 13 112.47 HAHN, ANDREW
TAX-LIST- HISTORY
Year Owner Information Land/Imp/Tot Exemption Assessed 7 ; ty
20)7 HAHN, ANDREW 515000 0 1012200 2
9 KENSINGTON CT 497200
TENAFLY, NJ 07670 1012200
2016 CARTAGENA, JOSEPH & RIOS, LORENA 515000 Q 1012200 2
9 KENSINGTON CT 497200
TENAFLY, NJ 07670 1012200
2015 CARTAGENA, JOSEPH & RIOS, LORENA 515000 0 1012200 2
9 KENSINGTON CT 497200
TENAFLY, NJ 07670 1012200
2014 CARTAGENA, JOSEPH & RIOS, LORENA 515000 0 1012200 2
9 KENSINGTON CT 497200
TENAFLY, NJ 07670 1012200
2013 CARTAGENA, JOSEPH & RIOS, LORENA 515000 0 1012200 2
9 KENSINGTON CT 497200
TENAFLY, NJ 07670 1012200
2012 CARTAGENA, JOSEPH & RIOS, LORENA 515000 0 1012200 2
9 KENSINGTON CT 497200
TENAFLY, NJ 07670 1012200
2011 CARTAGENA, JOSEPH & RIOS, LORENA 515000 0 1012200 2
9 KENSINGTON CT 497200
TENAFLY, NJ 07670 1012200
2010 CARTAGENA, JOSEPH & RIOS, LORENA 250000 0 885000 2
9 KENSINGTON CT 635000
TENAFLY, NJ 07670 885000

*Click on Underlined Year for Tax List Page

 

http://tax1.co.monmouth.nj.us/cgi-bin/m4.cgi?district=0261&102=026 102006 00006_105 M&hist=1

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Square Ft:
Year Built:

Style:

EPL Code:

Statute:
Initial:
Desc:
Taxes:

3431

2004

10

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000000 Further: 000000

25031.71 / 0.00

 

CARTAGENA, JOSEPH & RIOS, LORENA

WA
